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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )       CRIMINAL ACTION NO.
     v.                             )          2:17cr131-MHT
                                    )               (WO)
STEPHEN ANTHONY CAFFEY,             )
JR., a/k/a Steven Anthony           )
Caffey,                             )

                                ORDER

    Because the court is without authority, see United

States v. Lett, 483 F.3d 782 (11th Cir. 2007), it is

ORDERED that defendant Stephen Anthony Caffey’s motion

to modify the pronounced sentence (doc. no. 306) is

denied.

    DONE, this the 6th day of December, 2017.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
